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          IN THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                    NORTHERN DIVISION


   ANGELA RUSSELL, AS ADMINISTRATRIX                     EXHIBIT 3
   OF THE ESTATE OF JEREMY T. RUSSELL
   AND ON BEHALF OF THE WRONGFUL DEATH
   BENEFICIARIES OF JEREMY T. RUSSELL,

                                               PLAINTIFF,
        V.
                             CASE NO.3:22-cv-294-HTW-LGI

   MANAGEMENT & TRAINING CORPORATION; et al.,
                                  DEFENDANTS.



        ****************************************
             DEPOSITION OF ANTHONY GIBSON
        ****************************************
                 Taken at Adams & Reese
         1018 Highland Colony Parkway, Suite 800
                 Ridgeland, Mississippi,
              on Wednesday, June 14, 2023,
          beginning at approximately 9:15 a.m.




             ***********************************

                  Southern Steno Reporters

                     3541 Highway 13 South
                        Morton, MS 39117
                          601-507-0849
                      cynthiaharr@att.net




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                                                                           2


1                         A P P E A R A N C E S
2
        For the Plaintiff:
3
             GRAFTON E. BRAGG, ESQ.
4            BraggLaw, PLLC
             1060 East County Line Road
5            Suite 3A-120
             Ridgeland, Mississippi 39157
6                 grafton@graftonbragglaw.com
7
8       For the Defendants VitalCore Health Strategies,
        Evelyn Dunn, William Brazier and Stacey Kitchens:
9
             MICHAEL CHASE, ESQ.
10           Mitchell McNutt& Sams
             105 South Front Street
11           Post Office Box 1720
             Tupelo, Mississippi 38802
12                mchase@mitchellmcnutt.com
13

14      For the Defendants Michael McClinton; Ashley Ray;
        Marcus Robinson; Roxie Wallace; Jacob Vigliante;
15      John and Jane Doe Correctional Officers:

16           RAY YOUNG, ESQ.
             JARRAD GARNER, ESQ.
17           Adams & Reese, LLP
             1018 Highland Colony Parkway
18           Suite 800
             Ridgeland, Mississippi 39157
19                ray.young@arlaw.com
                  jarrad.garner@arlaw.com
20

21      Also Present:
            Riley Saunders
22

23

24

25

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                                  ANTHONY GIBSON                           15


1       Correctional Facility?
2            A     Yes, I was the highest ranking health

3       administrator at the facility.

4            Q     Okay.    So there are doctors that work
5       at the facility, correct?

6            A     Yes.    It's the health services
7       administrator, and then it's a site medical
8       director.     And then you have the rest of the

9       staff, like psychiatrists, other doctors, nurse
10      practitioners, dentists.          Everyone else fall up

11      under us.     So it's HSA, site medical director,

12      then everyone else and then ancillary staff.
13           Q     So the site medical director answers to

14      the HSA?

15           A     Yes.

16           Q     And the site medical director in

17      October of 2021 was Patrick Arnold?

18           A     Yes.
19           Q     Is there a separate person who's in

20      charge of mental health services?

21           A     No.    The health services administrator

22      is in charge of everything.           Now, the regional

23      team, they are something like advisors to the

24      site staff.      But the health services

25      administrator is over psychiatry, mental health,

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                                  ANTHONY GIBSON                              49


1       less likely for a person to commit suicide if you
2       have someone there watching them or someone in

3       the area.     It's less likely.        That's why they had

4       the one-on-ones, or that's why you have security
5       in these areas.

6                  But if you don't have no one there and
7       you give these people space to just create -- be
8       creative and think, things happen, especially

9       from how my mental health team, they came up with
10      a conclusion, and they came up with this dealing

11      with from testing and observation, that a lot of

12      -- some of these guys, not a lot, some of these
13      guys, drugs had a play in it.               It confused their

14      minds and have you doing different things.                    That

15      came from the mental health team, not from me.

16                 But I had the conversation with the

17      commissioner something has to give here.                  Do some

18      shakedowns in these prisons, take some of these
19      drugs from these folks.          And how are our mental

20      health folks end up receiving drugs?                How these

21      people receiving drugs?          And they locked up?            Who

22      getting it to them, you know?               And that same -- I

23      typed up the little thing.           It's even in the MAC

24      minutes that here it is, you have an inmate

25      floating around watching inmates.              Where is the

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                                  ANTHONY GIBSON                             84


1            on seg areas, you know.          And they went for
2            it, and they started doing it.

3       BY MR. BRAGG:

4            Q     Why did you suggest to give them a
5       raise?    How would that make a difference?                  Or to

6       give them bonus, I think you said.
7            A     They wouldn't go down there no other
8       way.     A little increase in pay, some of them went

9       for it.    But they would rather work in Housing
10      Unit 1 or Housing Unit 3 or 2 before they go to

11      5.   But you give them a couple dollars, you got

12      some to go there and work.
13           Q     That was only -- did that ever happen

14      in camp support?          Did you guys ever give a bonus

15      for folks in camp support?

16           A     Camp support always had staff.              I mean

17      always.    I can't recall a moment that staff

18      wasn't in camp support.          That day there was just,
19      you know, those officers were pulled to go

20      transport.     So they had to have been real short

21      in the facility in order to pull somebody out of

22      camp support.

23                 Camp support have their own team, own

24      security team.      Just like medical.          Medical have

25      a team of security that they always up in there.

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                                  ANTHONY GIBSON                           85


1       Now, if somebody go on vacation, you have
2       somebody come replace.          You know, sometimes they

3       never replace.      They have one person, you know.

4       But camp support always had, like, as two-woman
5       or man crew in there.

6            Q     Did you know of anybody working for MTC
7       at the time that you were there at East
8       Mississippi that left to take more money

9       somewhere else?
10                 MR. YOUNG:        Object to the form.

11                 THE WITNESS:        No, I can't recall that.

12           Not right now, I can't recall that.
13                 MR. BRAGG:        Okay.   Then I also join in

14           your objection.

15      BY MR. BRAGG:

16           Q     Was there a -- did anybody have any

17      conversations about monetary compensation for the

18      family of Jeremy Russell that you're aware of?
19           A     Not that I'm aware of.

20           Q     Okay.

21                 MR. BRAGG:        That's all I have.

22                                 EXAMINATION

23      BY MR. CHASE:

24           Q     Mr. Gibson, my name is Michael Chase.

25      We were introduced before the deposition started.

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                                  ANTHONY GIBSON                         128


1       That's Housing Unit 5.          I didn't have to say you
2       need security staff in camp support because you

3       already have it.          Security is always there in

4       camp support.
5                  But Housing Unit 5, that was a concern

6       that officers needed to be down there.                We had
7       too many attempting suicides, suicides.                It was
8       just too much going on in that area to say that's

9       a seg location, there's no movement.
10           Q     I believe you testified that you-all

11      would discuss that often at the meetings,

12      correct?
13           A     Yes, because it wasn't getting done.

14      We couldn't get it done.

15           Q     And Exhibit 3 here would be the minutes

16      that were taken about the discussion had at the

17      meeting; is that right?

18           A     Yes.
19           Q     Okay.    I want you to take some time to

20      look through that document and show me where

21      you-all mentioned the lack of security or the

22      need for security in the facility.              You can take

23      your time and review it.

24           A     If you can look at that 0010.

25           Q     Is that the third page?           What page is

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                                  ANTHONY GIBSON                         144


1       at any point relay that information to an MTC
2       official or staff member?

3            A     If a patient is talking suicide

4       ideations or anything like that, yes, we
5       communicate that to security and let them know.

6       And then the warden will ask us, "Well, what
7       y'all want to do?          Do y'all want to put that
8       person on one-on-one?"          It's up to the provider,

9       you know, to do that.          Every concern of a person
10      talking out of their mind or talking crazy, we

11      have to let them know so staff won't get hurt.

12      Yes, we always let them know, yes.
13           Q     I'm a little confused.           You testified

14      that you didn't talk to McClinton, Vigliante or

15      any staff prior to Russell's death.              But now

16      you're saying that you did relay Angela Russell's

17      concern about Jeremy to MTC.

18           A     Well, I didn't.        My staff -- and I know
19      this for sure -- that when a person is

20      threatening suicide or something like that, we

21      have to report and relay that to the warden and

22      them.

23           Q     How are you sure that happened in this

24      case?

25           A     I'm not sure that happened.             But that's

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                                  ANTHONY GIBSON                           145


1       our process, that -- as a matter of fact, the
2       nurse practitioner is the one that communicated

3       to them about we've got to be careful or

4       whatever.     They the one that relayed that
5       information to security staff to let them know,

6       hey, this is what we've got going on.               And then
7       they decide to either put that person on
8       one-on-one or whatever.          But that's always

9       communicated out.          That's how you get your
10      orders.    That's how they do their orders.                  And

11      security go by the orders.           Every day you might

12      see an order regarding a patient.             And that's how
13      the communication is going out there, is through

14      orders.    Yeah.

15           Q     I appreciate that.         What I want to know

16      is did you communicate that personally to anyone

17      on MTC's staff regarding Jeremy Russell talking

18      out of his head?
19           A     No.

20           Q     Okay.    You testified earlier that there

21      was no security in camp support because the

22      security was pulled to another unit.               Do you

23      recall that?

24           A     They was pulled away from the facility

25      for transport.

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                              ANTHONY GIBSON                           149


1    clothes.
2        Q      Did Angela Russell ever relay to you

3    that somebody told her that?

4        A      I can't recall that.
5        Q      Okay.    I want to go to the third bullet

6    point, October 6, 2021.          Did you have that
7    conversation with Angela Russell on October 6,
8    2021?

9        A      I remember having a conversation with
10   her about she's saying -- she's saying right here

11   the plan of self-harm.         But she said he was

12   talking crazy, talking out of his mind.                 And she
13   needs to speak to Nurse Dunn.              I sort of remember

14   that.   But moving from camp support, I can't

15   recall a request for him to be moved.                I can't

16   recall that.     And saying that camp support is the

17   safest place, I can't recall that.

18       Q      Do you ever recall Angela Russell
19   mentioning self-harm or suicidal ideations to you

20   on October 6, 2021?

21       A      I can't recall.

22       Q      Are you familiar with the contract

23   between MTC and MDOC?

24       A      Can you repeat that?

25       Q      Are you familiar -- let me ask it like

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                              ANTHONY GIBSON                          150


1    this.     Are you familiar with MTC's role at EMCF?
2    Do you know what their role is, that company's

3    role at that facility?

4          A    Not in its entirety, but I do know
5    provide security.

6          Q    Would you agree that MTC has no role in
7    the medical treatment, the healthcare treatment
8    of the inmates at the facility?

9          A    I agree.
10         Q    Okay.    Getting to my final questions,

11   so I appreciate your patience.             Mr. Gibson, you

12   made a lot of the comments here today and in your
13   statements about security issues at the facility.

14   Do you recall making these comments?

15         A    Pertaining to what?

16         Q    Security issues at the facility.

17         A    Yes.

18         Q    Do you recall making comments or
19   findings that the security issues and the drug

20   usage may have been the cause of suicides and

21   Jeremy Russell's at the facility?

22         A    We would always say it played a part.

23   We didn't -- we would never say it's the cause of

24   it.   But, you know, it's a part of what's going

25   on.

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                              ANTHONY GIBSON                          158


1    more days than the day of his death.              Do you
2    agree with that, that camp support was

3    chronically understaffed?

4        A      As far as understaffed, no.
5        Q      That's right, I believe you testified

6    earlier that camp support always had staff in
7    that area; is that right?
8        A      I'm not going to say adequate staff,

9    but they have someone there just about all the
10   time, even if it's one person.             But it usually be

11   two, you know, because you have somebody to float

12   and somebody working the board.             So you need two.
13   But even if it's one, someone is there.

14       Q      So would you agree with me if I said

15   that it's not typical for camp support to not

16   have staff in it?

17       A      Yes, I agree.

18       Q      I want to direct your attention now to
19   Page 9 of Exhibit 7.         That's Opinion 3, Roman

20   numeral VIII, I believe.          I want to give you a

21   second to review Opinion 3, which goes over to

22   Page 10.    Same instructions.         If you see anything

23   you disagree with, let me know and tell me why

24   you disagree with it.

25       A      All right.       Now, on the first paragraph

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